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                                            UNITED STATES BANKRUPTCY COURT
                                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                                    HOUSTON DIVISION


In re
                                                                                                             Chapter 11
HORNBLOWER HOLDINGS, LLC et al. 1                                                                            Case No. 24-90061 (MI)


                                                                                                             Adversary Proceeding
                    Debtor.                                                                                  No.________________
--------------------------------------------------------x
THERESA VANBUREN and MONICA MILLER
on behalf of themselves and all others similarly
situated,
                                                                                                             CLASS ACTION ADVERSARY
                                                                                                             PROCEEDING COMPLAINT
                                                             Plaintiffs,

                                                  v.

       Walks, LLC (Texas)
       Hornblower Holdings LLC
       Alcatraz Cruises, LLC
       Alcatraz Fleet, LLC
       Alcatraz Freedom, LLC
       Alcatraz Island Services, LLC
       American Countess, LLC
       American Duchess, LLC
       American Queen Holdco, LLC
       American Queen Holdings, LLC
       American Queen Steamboat Operating
       Company, LLC
       American Queen Sub, LLC
       Anchor Mexico Holdings, LLC
       Anchor Operating System LLC
       ASG Advisors, LLC
       Babarusa, LLC
       Bay State, LLC
       Booth Primary, LLC
       Boston Harbor Cruises, LLC

1 The last four digits of Debtor Hornblower Holdings LLC’s tax identification number are 6035. Due to the large number of debtor entities in these chapter 11 cases, for which the
Debtors have requested joint administration, a complete list of the debtor entities and the last four digits of their federal tax identification numbers is not provided herein. A
complete list of such information may be obtained on the website of the Debtors’ proposed claims and noticing agent at https://omniagentsolutions.com/Hornblower. The location
of the Debtors’ service address for purposes of these chapter 11 cases is: Pier 3 on The Embarcadero, San Francisco, CA 94111.
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Choi Advisory, LLC
City Cruises Café, LLC
City Cruises Limited
City Ferry Transportation Services, LLC
Colugo Liner, LLC
Cruising Excursions Limited
Cruising Excursions Transport Limited
EON Partners, LLC
Falls Mer, LLC
Ferryboat Santa Rosa, LLC
Gharian Holdings, LLC
Gourd Management, LLC
HBAQ Holdings, LLC
HBAQ Holdings, LP
HMS American Queen Steamboat Company,
LLC
HMS Ferries, Inc.
HMS Ferries – Puerto Rico, LLC
HMS Global Maritime, Inc.
HMS Global Maritime, LLC
HMS Vessel Holdings, LLC
HMS-Alabama, Inc.
HMS-Oklahoma, Inc.
HMS-WestPac, Inc.
HNY Ferry Fleet, LLC
HNY Ferry, LLC
HNY Ferry II, LLC
Hornblower Cable Cars, Inc.
Hornblower Canada Co.
Hornblower Canada Entertainment Limited
Hornblower Canadian Holdings, Inc.
Hornblower Consulting, LLC
Hornblower Cruise Holdings, LLC
Hornblower Cruises and Events, Inc.
Hornblower Cruises and Events, LLC
Hornblower Cruises and Events Canada Limited
Hornblower Development, LLC
Hornblower Energy, LLC
Hornblower Facility Operations, LLC
Hornblower Ferry Holdings, LLC
Hornblower Ferry Holdings II, LLC
Hornblower Fleet, LLC
Hornblower Freedom, LLC
Hornblower Group Holdco, LLC
Hornblower Group, Inc.

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    Hornblower Group, LLC
    Hornblower Holdco, LLC
    Hornblower Holdings LP
    Hornblower Hospitality Services, LLC
    Hornblower India Holdings, LLC
    Hornblower Metro Ferry, LLC
    Hornblower Metro Fleet, LLC
    Hornblower Metro Holdings, LLC
    Hornblower Municipal Operations, LLC
    Hornblower New York, LLC
    Hornblower Shipyard, LLC
    Hornblower Sub, LLC
    Hornblower UK Holdings, Limited
    Hornblower Yachts, LLC
    JJ Audubon, LLC
    Journey Beyond Holdings, LLC
    Liberty Cruises, LLC
    Liberty Fleet, LLC
    Liberty Hospitality, LLC
    Liberty Landing Ferries, LLC
    Lyman Partners, LLC
    Madison Union, LLC
    Mission Bay Water Transit Fleet, LLC
    Mission Bay Water Transit, LLC
    Orane Partners, LLC
    San Francisco Pier 33, LLC
    SEA Operating Company, LLC
    Seaward Services, Inc.
    Statue Cruises, LLC
    Statue of Liberty IV, LLC
    Statue of Liberty V, LLC
    Statue of Liberty VI, LLC
    TCB Consulting, LLC
    Venture Ashore, LLC
    Victory Holdings I, LLC
    Victory Holdings II, LLC
    Victory Operating Company, LLC
    Walks, LLC (Delaware)
    Walks of New York Tours, LLC
    Yardarm Club (The) Limited and
    York River Boat Cruises Limited
                              Defendants.

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              CLASS ACTION ADVERSARY PROCEEDING COMPLAINT

       Theresa VanBuren and Monica Miller (“Plaintiffs”) by and through undersigned counsel, on

behalf of themselves and all other similarly situated persons, as and for their complaint against:

Walks, LLC (Texas) Hornblower Holdings LLC Alcatraz Cruises, LLC Alcatraz Fleet, LLC

Alcatraz Freedom, LLC Alcatraz Island Services, LLC American Countess, LLC American Duchess,

LLC American Queen Holdco, LLC American Queen Holdings, LLC American Queen Steamboat

Operating Company, LLC American Queen Sub, LLC Anchor Mexico Holdings, LLC Anchor

Operating System LLC ASG Advisors, LLC Babarusa, LLC Bay State, LLC Booth Primary, LLC

Boston Harbor Cruises, LLC Choi Advisory, LLC City Cruises Café, LLC City Cruises Limited City

Ferry Transportation Services, LLC Colugo Liner, LLC Cruising Excursions Limited Cruising

Excursions Transport Limited EON Partners, LLC Falls Mer, LLC Ferryboat Santa Rosa, LLC

Gharian Holdings, LLC Gourd Management, LLC HBAQ Holdings, LLC HBAQ Holdings, LP

HMS American Queen Steamboat Company, LLC HMS Ferries, Inc. HMS Ferries – Puerto Rico,

LLC HMS Global Maritime, Inc. HMS Global Maritime, LLC HMS Vessel Holdings, LLC HMS-

Alabama, Inc. HMS-Oklahoma, Inc. HMS-WestPac, Inc. HNY Ferry Fleet, LLC HNY Ferry, LLC

HNY Ferry II, LLC Hornblower Cable Cars, Inc. Hornblower Canada Co. Hornblower Canada

Entertainment Limited Hornblower Canadian Holdings, Inc. Hornblower Consulting, LLC

Hornblower Cruise Holdings, LLC Hornblower Cruises and Events, Inc. Hornblower Cruises and

Events, LLC Hornblower Cruises and Events Canada Limited Hornblower Development, LLC

Hornblower Energy, LLC Hornblower Facility Operations, LLC Hornblower Ferry Holdings, LLC

Hornblower Ferry Holdings II, LLC Hornblower Fleet, LLC Hornblower Freedom, LLC

Hornblower Group Holdco, LLC Hornblower Group, Inc. Hornblower Group, LLC Hornblower

Holdco, LLC Hornblower Holdings LP Hornblower Hospitality Services, LLC Hornblower India

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Holdings, LLC Hornblower Metro Ferry, LLC Hornblower Metro Fleet, LLC Hornblower Metro

Holdings, LLC Hornblower Municipal Operations, LLC Hornblower New York, LLC Hornblower

Shipyard, LLC Hornblower Sub, LLC Hornblower UK Holdings, Limited Hornblower Yachts, LLC

JJ Audubon, LLC Journey Beyond Holdings, LLC Liberty Cruises, LLC Liberty Fleet, LLC Liberty

Hospitality, LLC Liberty Landing Ferries, LLC Lyman Partners, LLC Madison Union, LLC Mission

Bay Water Transit Fleet, LLC Mission Bay Water Transit, LLC Orane Partners, LLC San Francisco

Pier 33, LLC SEA Operating Company, LLC Seaward Services, Inc. Statue Cruises, LLC Statue of

Liberty IV, LLC Statue of Liberty V, LLC Statue of Liberty VI, LLC TCB Consulting, LLC Venture

Ashore, LLC Victory Holdings I, LLC Victory Holdings II, LLC Victory Operating Company, LLC

Walks, LLC (Delaware) Walks of New York Tours, LLC Yardarm Club (The) Limited and York

River Boat Cruises Limited (“Defendants”), allege as follows:

                                JURISDICTION AND VENUE
               1.      This Court has jurisdiction over this adversary proceeding pursuant to 28

U.S.C. §§ 157, 1331, 1334 and 1367.

               2.      This is a core proceeding pursuant to 28 U.S.C. §§ 157(b)(2)(A), (B) and (O).




                                 NATURE OF THE ACTION

               3.      This is a class action for the recovery by Plaintiffs and other Similarly

Situated Employees of the Defendants, as a single employer, of damages in the amount of 60 days’

pay and ERISA benefits by reason of Defendants’ violation of the Plaintiffs’ rights under the Worker

Adjustment and Retraining Notification Act of 1988 29 U.S.C. §§ 2101-2109 et. seq. (the “WARN

Act”). Although the Plaintiffs and the Other Similarly Situated Employees were nominally

employed by Defendant, American Queen Steamboat Operating Company, LLC, (“American

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Queen”), pursuant to the WARN Act’s single employer rule, Walks, LLC (Texas) Hornblower

Holdings LLC Alcatraz Cruises, LLC Alcatraz Fleet, LLC Alcatraz Freedom, LLC Alcatraz Island

Services, LLC American Countess, LLC American Duchess, LLC American Queen Holdco, LLC

American Queen Holdings, LLC American Queen Sub, LLC Anchor Mexico Holdings, LLC Anchor

Operating System LLC ASG Advisors, LLC Babarusa, LLC Bay State, LLC Booth Primary, LLC

Boston Harbor Cruises, LLC Choi Advisory, LLC City Cruises Café, LLC City Cruises Limited City

Ferry Transportation Services, LLC Colugo Liner, LLC Cruising Excursions Limited Cruising

Excursions Transport Limited EON Partners, LLC Falls Mer, LLC Ferryboat Santa Rosa, LLC

Gharian Holdings, LLC Gourd Management, LLC HBAQ Holdings, LLC HBAQ Holdings, LP

HMS American Queen Steamboat Company, LLC HMS Ferries, Inc. HMS Ferries – Puerto Rico,

LLC HMS Global Maritime, Inc. HMS Global Maritime, LLC HMS Vessel Holdings, LLC HMS-

Alabama, Inc. HMS-Oklahoma, Inc. HMS-WestPac, Inc. HNY Ferry Fleet, LLC HNY Ferry, LLC

HNY Ferry II, LLC Hornblower Cable Cars, Inc. Hornblower Canada Co. Hornblower Canada

Entertainment Limited Hornblower Canadian Holdings, Inc. Hornblower Consulting, LLC

Hornblower Cruise Holdings, LLC Hornblower Cruises and Events, Inc. Hornblower Cruises and

Events, LLC Hornblower Cruises and Events Canada Limited Hornblower Development, LLC

Hornblower Energy, LLC Hornblower Facility Operations, LLC Hornblower Ferry Holdings, LLC

Hornblower Ferry Holdings II, LLC Hornblower Fleet, LLC Hornblower Freedom, LLC

Hornblower Group Holdco, LLC Hornblower Group, Inc. Hornblower Group, LLC Hornblower

Holdco, LLC Hornblower Holdings LP Hornblower Hospitality Services, LLC Hornblower India

Holdings, LLC Hornblower Metro Ferry, LLC Hornblower Metro Fleet, LLC Hornblower Metro

Holdings, LLC Hornblower Municipal Operations, LLC Hornblower New York, LLC Hornblower

Shipyard, LLC Hornblower Sub, LLC Hornblower UK Holdings, Limited Hornblower Yachts, LLC

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JJ Audubon, LLC Journey Beyond Holdings, LLC Liberty Cruises, LLC Liberty Fleet, LLC Liberty

Hospitality, LLC Liberty Landing Ferries, LLC Lyman Partners, LLC Madison Union, LLC Mission

Bay Water Transit Fleet, LLC Mission Bay Water Transit, LLC Orane Partners, LLC San Francisco

Pier 33, LLC SEA Operating Company, LLC Seaward Services, Inc. Statue Cruises, LLC Statue of

Liberty IV, LLC Statue of Liberty V, LLC Statue of Liberty VI, LLC TCB Consulting, LLC Venture

Ashore, LLC Victory Holdings I, LLC Victory Holdings II, LLC Victory Operating Company, LLC

Walks, LLC (Delaware) Walks of New York Tours, LLC Yardarm Club (The) Limited and York

River Boat Cruises Limited were also the Plaintiffs’s and the Other Similarly Situated Employees

“Employer” until they were terminated as part of, or as a result of a mass layoff and/or plant closing

ordered by Defendants on or about February 20, 2024 and thereafter. The Defendants violated the

WARN Act by failing to give the Plaintiffs and the Other Similarly Situated Employees of the

Defendants at least 60 days’ advance written notice of termination, as required by the WARN Act.

As a consequence, the Plaintiffs and the Other Similarly Situated Employees of the Defendants are

entitled under the WARN Act to recover from the Defendants their wages and ERISA benefits for 60

days, none of which has been paid.



                                             PARTIES

               4.      Upon information and belief, at all relevant times, Defendants which

maintained facilities throughout the United States (the “Facilities”).

               5.      Upon information and belief, at all relevant times, Defendants, as a single

employer jointly maintained, owned, and operated the Facilities.

               6.      On or about February 21, 2024 Defendants filed with this Court voluntary

petitions for relief under Chapter 11 of the United States Bankruptcy Code.

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                7.      Plaintiff Theresa VanBuren was an employee who was employed by

Defendants, as a single employer, and worked at or reported to a facility located in Fort Lauderdale,

FL (the “Fort Lauderdale Facility”) until her termination without cause on or about February 20,

2024.

                8.      Plaintiff Monica Miller was an employee who was employed by Defendants,

as a single employer, and worked at or reported to the Fort Lauderdale Facility until her termination

without cause on or about February 20, 2024

                9.      Plaintiffs and the Other Similarly Situated Employees were employed by

Defendants as a single employer at the Facilities until their termination without cause on or about

February 20, 2024 and thereafter at which time Defendants ordered a mass layoff and/or plant

closing of the Facilities.

                10.     Upon information and belief, approximately 2600 persons were employed at

the Facilities by Defendants until their termination without cause on or about February 20, 2024 and

thereafter.

                11.     The Plaintiffs bring this action on their own behalf and, pursuant to Rules

7023(a) and (b) of the Federal Rules of Bankruptcy, Rules 23(a) and (b)(3) of the Federal Rules of

Civil Procedure and the WARN Act, 29 U.S.C. § 2104(a)(5), on behalf of all other employees of the

Defendants who also worked at or reported to the Facilities, and who were terminated as part of or as

the foreseeable result of a mass layoff and/or plant closing at the Facilities ordered by Defendants on

or about February 20, 2024 and thereafter (collectively, “the Class”).

                12.     On or about February 20, 2024 and thereafter, Defendants, as a single

employer, ordered the termination of the Plaintiffs’ employment together with the termination of all

other employees who worked at or reported to the Facilities as part of a mass layoff and/or plant

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closing as defined by the WARN Act for which they were entitled to receive 60 days advance

written notice under the WARN Act.

               13.     Upon information and belief, Defendants constituted a “single employer” of

the Plaintiffs and the other Class members in that among other things:

           Common Ownership

                (a)    Upon information and belief, all Defendants are 100% owned by Hornblower

           Holdings, LLC.

           Common Directors and Officers

                (b)    Upon information and belief, at all relevant times, the Defendants shared

           common officers and Directors.

           Dependency of Operations

                (c)    Upon information and belief, at all relevant times, there was a dependency of

           operations between Defendants.

           Unity of Personnel Policies

                 (d) Upon information and belief, at all relevant times there was a unity of

           personnel policies emanating from a common source between Defendants.

                 (e) Upon information and belief, all of the Defendants decided to effectuate the

           mass layoff and/or plant closing at the Facilities without providing a WARN notice.

           De Facto Control

                (f)    Upon information and belief, all of the Defendants exercised de facto control

            over the labor practices governing the Plaintiffs and the Class including the decision to

            order the mass layoff and/or plant closing at the Facilities.

                      CLASS ACTION ALLEGATIONS 29 U.S.C. § 2104

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               14.     The Plaintiffs and each person they seek to represent herein, were discharged

on or about February 20, 2024 and thereafter without cause on his or her part and are "affected

employees" within the meaning of 29 U.S.C. § 2101(a)(5).

               15.     The Plaintiffs bring this action on their own behalf and, pursuant to the

WARN Act, and Rules 7023(a) and (b)(3) of the Federal Rules of Bankruptcy and Rules 23(a) and

(b) of the Federal Rules of Civil Procedure, on behalf of all other similarly situated former

employees of Defendants who were terminated on or about February 20, 2024 and thereafter, who

worked at or reported to the Facilities until their terminations.

               16.     On or about February 20, 2024 and thereafter, Defendants terminated the

Plaintiffs’ employment as part of a mass layoff and/or plant closing which qualifies as an event for

which they were entitled to receive to sixty (60) days' advance written notice under the WARN Act.

               17.     Defendants as a single employer never gave Plaintiffs the statutorily required

sixty (60) days advance written notice of the mass layoff and/or plant closing in violation of the

WARN Act.

               18.     At or about the time that the Plaintiffs were discharged on or about February

20, 2024 and thereafter, Defendants discharged approximately 2600 other employees at the Facilities

(the "Other Similarly Situated Former Employees") without cause on their part.

               19.     Pursuant to WARN Act 29 U.S.C. § 2104(a)(5), the Plaintiffs maintain this

claim on behalf of each of the Other Similarly Situated Former Employees and for his or her benefit.

               20.     Each of the Other Similarly Situated Former Employees is similarly situated

to the Plaintiffs in respect to his or her rights under the WARN Act.

               21.     The Plaintiffs and the Other Similarly Situated Former Employees were

discharged by Defendants, without cause on their part.

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               22.    The Plaintiffs and each of the Other Similarly Situated Former Employees are

“affected employees" within the meaning of WARN Act 29 U.S.C. § 2101(a)(5).

               23.    Defendants were required by the WARN Act to give the Plaintiffs and the

Other Similarly Situated Former Employees at least sixty (60) days prior written notice of their

respective terminations.

               24.    Prior to their termination, neither the Plaintiffs nor the Other Similarly

Situated Former Employees received written notice that complied with the requirements of the

WARN Act.

               25.    Defendants failed to pay the Plaintiffs and the Other Similarly Situated

Former Employees their respective wages, salary, commissions, bonuses, accrued holiday pay and

accrued vacation for sixty (60) calendar days following their respective terminations and failed to

make the 401(k) contributions and provide health insurance coverage and other employee benefits

under ERISA in respect to them for sixty (60) calendar days from and after the dates of their

respective terminations.

                 CLASS ACTION ALLEGATIONS RULE 7023 (a) and (b)

       26.     The Plaintiffs assert this claim on behalf of themselves and the Other Similarly

Situated Former Employees pursuant to Rules 7023(a) and (b)(3) of the Federal Rules of Bankruptcy

and Rules 23(a) and (b)(3) of the Federal Rules of Civil Procedure.

       27.     The Plaintiffs and the Other Similarly Situated Former Employees constitute a class

within the meaning of Rules 7023(a) and (b)(3) of the Federal Rules of Bankruptcy and Rules 23(a)

and (b)(3) of the Federal Rules of Civil Procedure (The "Class").

       28.     Common questions of law and fact are applicable to all members of the Class.

       29.     The common questions of law and fact arise from and concern the following facts and

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actions, among others, that Defendants committed or failed to commit as to all members of the

Class: all Class members enjoyed the protection of the WARN Act; all Class members were

employees of Defendants who, prior to the terminations, worked at or reported to the Facilities;

Defendants as a single employer terminated the employment of all the members of the Class without

cause on their part without giving them at least sixty (60) days' prior written notice as required by the

WARN Act; and Defendants failed to pay the Class members wages and to provide other employee

benefits for the sixty (60) day period following their respective terminations.

         30.    The questions of law and fact common to the members of the Class, as above noted,

predominate over any questions affecting only individual members, and thus, this Class claim is

superior to other available methods for the fair and efficient adjudication of this controversy.

         31.    The Plaintiffs’ claims are typical of the claims of other members of the Class in that

for each of the several acts described above.

         32.    The Plaintiffs will fairly and adequately protect and represent the interests of the

Class.

         33.    The Plaintiffs have the time and resources to prosecute this action and has retained

counsel who have had extensive experience in matters involving employee rights, the WARN Act,

class action litigation and bankruptcy court litigation.

         34.    The Class is so numerous as to render joinder of all members impracticable as there

are approximately 2600 persons who are included in the Class.

         35.    The Class meets the requirements of Fed. R. Civ. P. 23(a) for class certification.

         36.    The Class meets the requirements of Fed. R. Civ. P. 23(b)(3) because the questions of

law or fact common to the members of the Class predominate over any questions affecting only

individual members, and that a class action is superior to other available methods for the fair and

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efficient adjudication of the controversy.

       37.     No Class member has an interest in individually controlling the prosecution of a

separate action under the WARN Act.

       38.     No litigation concerning the WARN Act rights of any Class member has been

commenced in this Court.

       39.     Concentrating all the potential litigation concerning the WARN Act rights of the

Class members in this Court will avoid a multiplicity of suits, will conserve judicial resources and

the resources of the parties and is the most efficient means of resolving the WARN Act rights of all

the Class members.

       40.     On information and belief, the identities of the Class members are contained in the

books and records of Defendants.

       41.     On information and belief, a recent residence address of each of the Class members is

contained in the books and records of Defendants.

       42.     On information and belief, the rate of pay and benefits that were being paid by

Defendants to each Class member at the time of his/her termination are contained in the books and

records of Defendants.

       43.     As a result of Defendants’ violation of the WARN Act, the Plaintiffs and the other

members of the Class have been damaged in amounts equal to the sum of: (a) their respective lost

wages, salaries, commissions, bonuses, accrued holiday pay, accrued vacation pay, 401(k)

contributions for sixty (60) days; (b) the health and medical insurance and other fringe benefits that

they would have received or had the benefit of receiving, for a period of sixty (60) days after the

dates of their respective terminations; and (c) medical expenses incurred during such period by such

persons that would have been covered and paid under the then applicable employee benefit plans had

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that coverage continued for that period.

                                   THE CLAIM FOR RELIEF

        44.     At all relevant times, the Defendants employed 100 or more employees (exclusive of

part-time employees, i.e., those employees who had worked fewer than 6 of the 12 months prior to

the date notice was required to be given or who had worked fewer than an average of 20 hours per

week during the 60 day period prior to the date notice was required to be given (the “Part-Time

Employees”)), or employed 100 or more employees who in the aggregate worked at least 4,000

hours per week exclusive of hours of overtime within the United States.

        45.     At all relevant times, each Defendant was an “employer,” as that term is defined in

the WARN Act and continued to operate as a business until it determined to order a mass layoff

and/or plant closing at the Facilities.

        46.     On or about February 20, 2024 and thereafter the Defendants as a single employer

ordered a “mass layoff” and/or “plant closing” at the Facilities, as that term is defined by the WARN

Act.

        47.     The mass layoff and/or plant closing at the Facilities resulted in “employment losses,”

as that term is defined by the WARN Act for at least fifty (50) of Defendant’s employees as well as

33% of Defendants’ workforce at the Facilities, excluding “part-time employees,” as that term is

defined by the WARN Act.

        48.     The Plaintiffs and each of the other members of the Class were discharged by the

Defendants without cause on his or her part as part of or as the reasonably foreseeable result of the

plant closing ordered by the Defendants at the Facilities.

        49.     The Plaintiffs and each of the other members of the Class are “affected employees” of

the Defendants within the meaning of the WARN Act.

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       50.     The Defendants were required by the WARN Act to give the Plaintiffs and each of

the other members of the Class at least 60 days’ advance written notice of his or her termination.

       51.     The Defendants failed to give the Plaintiffs and other members of the Class written

notice that complied with the requirements of the WARN Act.

       52.     The Plaintiffs and each of the other members of the Class are “aggrieved employees”

of the Defendants as that term is defined in the WARN Act.

       53.     The Defendants failed to pay the Plaintiffs and each of the other members of the Class

their respective wages, salary, commissions, bonuses, accrued holiday pay and accrued vacation for

60 days following their respective terminations and failed to make the pension and 401(k)

contributions and provide employee benefits under ERISA, other than health insurance, for 60 days

from and after the dates of their respective terminations.

       54.     The relief sought in this proceeding is equitable in nature.


       WHEREFORE, Plaintiffs on their own behalf and on behalf of each of the other Class

members demand judgment, jointly and severally, against Defendant as follows:

                A.     An allowed priority claim pursuant to 11 U.S.C. § 507(a)(4) and (5) up to

$15,150 against Defendants in favor of the Plaintiffs and Class members equal to the sum of: (a)

unpaid wages, salary, commissions, bonuses, accrued holiday pay, accrued vacation pay, pension

and 401(k) contributions and other ERISA benefits, for a maximum of 60 days, that would have

been covered and paid under the then applicable employee benefit plans had that coverage continued

for that period, all determined in accordance with the WARN Act, 29 U.S.C. §2104(a)(1)(A), with

any remainder as a general unsecured claim;




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                B.     A judgment against Defendants in favor of the Plaintiffs and the other Class

  members for the sum of: (a) unpaid wages, salary, commissions, bonuses, accrued holiday pay,

  accrued vacation pay, pension and 401(k) contributions and other ERISA benefits, for a maximum

  of 60 days, that would have been covered and paid under the then applicable employee benefit

  plans had that coverage continued for that period, all determined in accordance with the WARN

  Act, 29 U.S.C. §2104(a)(1)(A);

                C.       Certification that the Plaintiffs and the other Class members constitute a

single class;

                D.     Appointment of the undersigned attorneys as Class Counsel;

                E.     Appointment of Plaintiffs as the Class Representatives and payment of

reasonable compensation to them for their services as such;

                F.     An allowed claim against Defendants for the reasonable attorneys’ fees and

the costs and disbursements that the Plaintiffs incur in prosecuting this action, as authorized by the

WARN Act, 29 U.S.C. § 2104(a)(6);

                G.     Such other and further relief as this Court may deem just and proper.


                                                      Respectfully submitted,

February 23, 2024

                                                      By: _ /s/ Jason C. Webster
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                                                      Texas Bar No. 24033318
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